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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

 THOMAS J. MURRER, individually and on
 behalf of all others similarly situated,

                Plaintiff,

 v.                                                              Case No. 3:24-cv-49

 WELLS FARGO BANK, N.A.,

                Defendant.


                        DEFENDANT WELLS FARGO BANK, N.A.’S
                          MOTION TO COMPEL ARBITRATION

       Defendant Wells Fargo, N.A. (“Wells Fargo”) moves this Court for an order compelling

Plaintiff Thomas J. Murrer (“Plaintiff”) to arbitrate his claims against Wells Fargo pursuant to the

terms of the parties’ agreements to arbitrate and the Federal Arbitration Act, 9 U.S.C. § 1, et seq.,

(“FAA”), as the parties have enforceable agreements to arbitrate, and any issues of arbitrability

have been clearly delegated to the arbitrator. As such, this matter should be dismissed.

       The bases for this Motion are set forth in the memorandum in support filed

contemporaneously with this Motion.         For the reasons in the memorandum, Wells Fargo

respectfully requests that its Motion be granted and that the parties be compelled to arbitration.



Dated: March 25, 2024                         Respectfully submitted,

                                              MCGUIREWOODS LLP


                                              /s/ Katherine E. Lehnen
                                              Katherine E. Lehnen (VSB No. 92357)
                                              McGUIREWOODS LLP
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                              CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2024, I caused the foregoing document to be filed with

the Clerk of the Court and served upon on all counsel of record via the Court’s CM/ECF system.



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